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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
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                                                               Chapter 11

 In re:                                                        Case No.: 23-12825 (MBK)

 LTL MANAGEMENT LLC, 1                                         Honorable Michael B. Kaplan

                                     Debtor.




   NOTICE OF MOTION OF THE OFFICIAL COMMITTEE OF TALC CLAIMANTS
   TO DISMISS SECOND BANKRUPTCY PETITION OF LTL MANAGEMENT, LLC

          PLEASE TAKE NOTICE, that on May 22, 2023 at 10:00 a.m, the undersigned, as local

bankruptcy counsel for the Official Committee of Talc Claimants (the “Committee”) of LTL

Management LLC, (“LTL” or the “Debtor”), shall move before the Honorable Michael B. Kaplan,

United States Bankruptcy Judge, at the United States Bankruptcy Court, for the District of New

Jersey, Courthouse, 402 East State Street, Trenton, New Jersey 08608, seeking the entry of an

order dismissing the Debtor’s Chapter 11 case, and for such other relief that is just and proper.

          PLEASE TAKE FURTHER NOTICE, that the undersigned shall rely upon the Motion

filed herewith in support of the relief sought.

          PLEASE TAKE FURTHER NOTICE, that oral argument is requested.

          PLEASE TAKE FURTHER NOTICE, that no brief is being filed herewith since the

legal basis upon which relief should be granted is set forth in the Motion.

          PLEASE TAKE FURTHER NOTICE, that all objections must be in writing and filed

no later than seven (7) days before the hearing with the Clerk of the United States Bankruptcy

Court, for the District of New Jersey, Courthouse, 402 East State Street, Trenton, New Jersey


         1
                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address
is 501 George Street, New Brunswick, New Jersey 08933.
                                                         2
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08608, and a copy thereof must simultaneously be served upon GENOVA BURNS, LLC., Attn:

Daniel M. Stolz, Esq., 110 Allen Road, Suite 304, Basking Ridge, New Jersey 07920.


                                   Respectfully submitted,

                                         GENOVA BURNS, LLC



                                   By:    /s/ Daniel M. Stolz         .
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                                            Donald W. Clarke, Esq.
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                                            Basking Ridge, NJ 07920
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                                           Proposed Local Counsel to the Official Committee
                                           of Talc Claimants of LTL Management, LLC




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